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                     THOMAS A. BUFORD (WSBA #52969)                                   HEARING DATE: August 25, 2021
             2       RICHARD B. KEETON (WSBA #51537)                                  HEARING TIME: 1:30 p.m. PST
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         14          *Admitted Pro Hac Vice
         15
                     Attorneys for the Chapter 11 Debtors and
         16          Debtors in Possession

         17                                 UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF WASHINGTON
         18

         19      In re                                                      Chapter 11

         20      EASTERDAY RANCHES, INC., et al.                            Lead Case No. 21-00141-WLH11
         21                                                                 Jointly Administered
                                                        Debtors. 1
         22                                                                 REPLY IN SUPPORT OF FIRST
         23                                                                 INTERIM APPLICATION OF
                                                                            PACHULSKI STANG ZIEHL & JONES
         24                                                                 LLP FOR COMPENSATION AND
         25
                 1
                       The Debtors along with their case numbers are as follows: Easterday Ranches, Inc. (21-00141) and Easterday Farms,
         26            a Washington general partnership (21-00176).
         27                                                                     P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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             21-00141-WLH11            Doc 1008        Filed 08/18/21       Entered 08/18/21 14:31:43                   Pg 1 of 46
             1                                                               REIMBURSEMENT OF EXPENSES FOR
             2                                                               THE PERIOD FEBRUARY 1, 2021
                                                                             THROUGH MAY 31, 2021
             3

             4            Pachulski Stang Ziehl & Jones LLP (“PSZJ”), attorneys for Easterday Ranches,
             5   Inc. (“Ranches”) and Easterday Farms (“Farms”), debtors and debtors in possession (the
             6   “Debtors”), hereby files this reply (this “Reply”) to the Objection to First Interim Fee
             7   Application of Pachulski, Stang, Ziehl, & Jones [Docket No. 933] (the “Objection”)
             8   filed by the Acting United States Trustee (the “UST”), and in support of the First
             9   Interim Application of Pachulski Stang Ziehl & Jones LLP for Compensation and
         10      Reimbursement of Expenses for The Period February 1, 2021 Through May 31, 2021
         11      [Docket No. 871] (the “Application”).2 In support of this Reply, PSZJ respectfully
         12      represents as follows:
         13                                                                 I.
         14                                           PRELIMINARY STATEMENT
         15               PSZJ practices throughout the nation (see https://www.pszjlaw.com/about-
         16      presence.html) and receives little if any resistance to its rate structure irrespective of the
         17      jurisdiction. See, e.g., In re Spherature Investments LLC, Case No. 20-42492 (Bankr.
         18      E.D. Tex. March 15, 2021) (PSZJ employment approved at standard hourly rates); In
         19      re Rancher’s Legacy Meat Co., Case No. 19-32928 (Bankr. D. Minn. December 23,
         20      2020 (PSZJ fees approved at standard hourly rates); In re SD-Charlotte, LLC, Case No.
         21      20-30149 (Bankr. W.D.N.C. October 1, 2020) (same); In re It’s Sugar FL I LLC, Case
         22      No. 20-20259 (Bankr. S.D. Fla. June 21, 2021) (same). With 10 fellows of the
         23      American College of Bankruptcy in its ranks, for example, and countless accolades
         24      achieved by virtually all of its members, PSZJ has a different profile than most law
         25

         26      2
                      Capitalized terms not otherwise defined herein shall have the meanings ascribed thereto in the Application.
         27                                                                        P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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             21-00141-WLH11            Doc 1008        Filed 08/18/21        Entered 08/18/21 14:31:43                     Pg 2 of 46
             1   firms, not to mention most insolvency firms. In that vein, comparing PSZJ’s rates to
             2   those typically charged by insolvency counsel in the Eastern District of Washington
             3   ignores the reality that the Easterday cases are very obviously atypical for the venue
             4   and likely as complex as any case filed in the history of the venue. Whether the UST
             5   has objected solely as a matter of “policy” when faced with a fee structure that falls
             6   outside of the jurisdiction’s norms, the UST fails in its objection to appreciate the
             7   complexity of the Easterday cases – as well as the professionalism of PSZJ and its
             8   efforts which the court has already lauded – despite the overwhelming facts reflecting
             9   the need for sophisticated counsel in these cases.
         10            The UST’s primary objection is that the circumstances necessitating PSZJ’s
         11      blended billing rate of $1,053 must be “disclosed, explained, and justified,” citing only
         12      the blended billing rate charged by lead debtor’s counsel in the Astria Health cases
         13      ($800 per hour) as well as the standard billing rates of the Debtors’ co-counsel and
         14      regional law firm, Bush Kornfeld LLP ($450 per hour). Obj. at p.6.
         15            However, PSZJ’s contracted-for billing rates in these cases are its standard rates
         16      and do not vary from representations in other venues. PSZJ’s rates were disclosed,
         17      explained and justified early in these cases when the Debtors initially filed PSZJ’s
         18      retention application at the inception of the cases and sought authorization to employ
         19      PSZJ. PSZJ was the Debtors’ chosen counsel in light of the complexity of these cases
         20      as well as the sophistication of professionals retained by other constituencies. Even if
         21      further justification for PSZJ charging its standard billing rates is needed, the court need
         22      only refer to the developments in these chapter 11 cases from and after approval of
         23      PSZJ’s retention.     The complexity of the issues, the expedited timeframe, the
         24      completion of a very successful sale transaction, and a number of other Johnson/Kerr
         25

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             21-00141-WLH11      Doc 1008    Filed 08/18/21   Entered 08/18/21 14:31:43                  Pg 3 of 46
             1   factors 3 (as further discussed below), warrant authorization to pay the amount sought in
             2   the Application in its entirety.
             3                                                           II.
             4                     THE UST’S OBJECTION SHOULD BE OVERRULED
             5   A.       PSZJ’s Billing Rates Are Reasonable and Should Be Approved.
             6            The goal of ascertaining reasonableness of rates in the lodestar calculation is to
             7   determine the “market rate” for a lawyer’s services. Missouri v. Jenkins, 491 U.S. 274,
             8   283, 109 S. Ct. 2463 (1989); Blum v. Stenson, 465 U.S. 886, 895 n. 11, 104 S. Ct. 1541
             9   (1984). In Gates v. Deukmejian, 987 F.2d 1392, 1405 (9th Cir. 1992), the Ninth Circuit
         10      has explained that, as a general rule, the prevailing market rates should be determined
         11      with reference to the relevant community, noting that this is generally where the court
         12      sits. But there are exceptions to the general rule and courts caution that an overly
         13      formulaic application of the forum rule works against the policies and goals of complex
         14      bankruptcy cases. See, e.g., Barjon v. Dalton, 132 F.3d 496, 500, 501-02 (9th Cir.
         15      1997); Zolfo, Cooper & Co. v. Sunbeam-Oster Co., 50 F.3d 253 (3d Cir. 1995) (baseline
         16      rule is for firms to receive their customary rates); In re Busy Beaver Bldg. Ctrs., Inc.,
         17      19 F.3d 833 (3d Cir. 1994) (advocating “market approach” to determining applicable
         18      rate of compensation); In re Robertson Cos., 123 B.R. 616 (Bankr. D.N.D. 1990)
         19      (restriction of fees to typical local rates is unduly parochial in light of national and
         20      regional law firms working on larger and more complex bankruptcy cases with more
         21      than local import); In re Frontier Airlines, Inc., 74 B.R. 973 (Bankr. D. Colo. 1987)
         22
                 3
                      These factors are: (1) the time and labor required, (2) the novelty and difficulty of the questions involved,
         23           (3) the skill requisite to perform the legal service properly, (4) the preclusion of other employment by the
                      attorney due to acceptance of the case, (5) the customary fee, (6) whether the fee is fixed or contingent,
         24           (7) time limitations imposed by the client or the circumstances, (8) the amount involved and the results
                      obtained, (9) the experience, reputation, and ability of the attorneys, (10) the “undesirability” of the case,
         25           (11) the nature and length of the professional relationship with the client, and (12) awards in similar
                      cases. Kerr, 526 F.2d at 70 (quoting Johnson). The foregoing factors are applicable to the lodestar
         26           calculation here, in accordance with the reasoning and authorities set forth in the Application.
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             21-00141-WLH11           Doc 1008       Filed 08/18/21       Entered 08/18/21 14:31:43                   Pg 4 of 46
             1   (foreign counsel may charge normal hourly billing rates, even if in excess of local
             2   billing rates).
             3          As the Bankruptcy Court for the District of Arizona has stated:
             4                 Many large cases, which have involved the nation’s
             5                 bankruptcy courts, illustrate that the practice of bankruptcy
                               law has become national in scope. … When one factors in that
             6                 the Debtor’s counsel of choice is a large single law firm with
             7                 offices and expertise located in various parts of the nation,
                               one must question whether the simple paradigm of “local law
             8                 firm / local rates” has meaningful application. At the least, the
             9                 complex facts of this case and the need for special expertise
                               present circumstances which require looking beyond the local
         10                    community rates. So long as the ultimate amount requested
         11                    is, on the whole, reasonable for the type of case and work
                               involved, the fee can be approved. … The nature and scope
         12                    of this case is of the type where exceptions swallow the rule.
         13      In re First Magnus Fin. Corp., Case No. 4:07-bk-01578-JMM, 2008 Bankr. LEXIS
         14      4949, **6-8 (Bankr. D. Ariz. May 22, 2008) (citing Deukmejian, 987 F.2d at 1405;
         15      Xiao-Yue Gu v. Hughes STX Corp., 127 F. Supp. 2d 751, 767 (D. Md. 2001); Atlantic
         16      States Legal Foundation, Inc. v. Onondaga Dept. of Drainage & Sanitation, 899 F.
         17      Supp. 84, 89-90 (N.D. N.Y. 1995)); see also Arbor Hill Concerned Citizens
         18      Neighborhood Ass’n v. County of Albany, 493 F.3d 110, 119 (2d Cir. 2007) (by
         19      definition, the market rate for legal rate is the rate that “reasonable, paying client” would
         20      pay); Hawaiian Airlines, Inc. v. Mesa Air Group, Inc. (In re Hawaiian Airlines, Inc.),
         21      Case No. 03-00817, 2008 Bankr. LEXIS 1501, **8-12 (Bankr. D. Haw. Jan. 22, 2008)
         22      (prevailing party awarded attorney’s fees at Los Angeles rates over customary local,
         23      Hawaii rates: counsel’s prior experience representing the prevailing party improved the
         24      representation, citing Arbor Hill).
         25             At least one court has expressly observed that limiting rates to those customarily
         26      charged locally would be contradictory to the bankruptcy policy of attracting
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             21-00141-WLH11        Doc 1008   Filed 08/18/21   Entered 08/18/21 14:31:43                  Pg 5 of 46
             1   experienced professionals to bankruptcy cases, regardless of where the case is pending.
             2   In re Baldwin United Corp., 36 B.R. 401 (Bankr. S.D. Ohio 1984).
             3         Moreover, long-standing public policy favors permitting parties to retain
             4   professionals of their choice. In re Christ’s Church of Golden Rule, 157 F.2d 910, 911
             5   (9th Cir. 1946) (“‘The relationship between attorney and client is highly confidential,
             6   demanding personal faith and confidence in order that they may work together
             7   harmoniously. Only in the rarest cases should the trustee be deprived of the privilege of
             8   selecting his own counsel . . .’”) (quoting In re Mandell, 69 F.2d 830, 831 (2d Cir.
             9   1934)); Smith v. Geltzer, 507 F.3d 64, 71 (2d Cir. 2007) (bankruptcy court should
         10      interfere with the trustee's choice of counsel “‘[o]nly in the rarest cases,’” such as when
         11      the proposed attorney has a conflict of interest, or when it is clear that “‘the best interest
         12      of the estate’” would not be served by the trustee’s choice) (quoting Mandell); 3
         13      COLLIER ON BANKRUPTCY ¶ 327.04 (Alan W. Resnick & Harry J. Sommer eds., 16th
         14      ed.) (in the absence of a legitimate or material conflict of interest, “failure to approve
         15      the trustee’s selection [of counsel] in the absence of good reason has been called an
         16      abuse of judicial discretion”); In re Malhotra, No. 2:16-bk-02608-DPC, 2016 Bankr.
         17      LEXIS 2521, *8 (Bankr. D. Ariz. July 7, 2016) (same, citing Christ’s Church, Mandell
         18      and Collier’s); In re Shore, No. 03-43072, 2004 Bankr. LEXIS 1432, at *11 (Bankr. D.
         19      Kan. May 14, 2004) (“a debtor’s choice of counsel is entitled to great deference”).
         20            As discussed further below, the circumstances of these cases justify honoring the
         21      Debtors’ choice of counsel and the payment of PSZJ’s standard hourly rates.
         22            1.     Achieving the Sale Required the Debtors’ Professionals to Address
         23                   Contentious Disputes Involving Complex Legal Issues on an
         24                   Expeditious Timeframe
         25            PSZJ’s involvement as the Debtors’ lead bankruptcy counsel required immediate
         26      engagement with respective counsel to creditors Tyson Fresh Meats, Inc. (“Tyson”) and
         27                                                       P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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             21-00141-WLH11      Doc 1008     Filed 08/18/21   Entered 08/18/21 14:31:43                  Pg 6 of 46
             1   Washington Trust Bank (“Washington Trust”) to address contentious disputes that had
             2   derailed the Debtors’ operations and necessitated the filing of these chapter 11 cases.
             3   Within the first 30 days of the cases, the Debtors, advised by their professionals
             4   including PSZJ, successfully negotiated settlements of those disputes that, in turn,
             5   cleared the pathway for an orderly marketing and sale process. The terms of the
             6   settlements included fixed milestones to file the motion to approve bidding procedures
             7   within approximately one month of entry into the settlements and to obtain court
             8   approval of a sale within four-and-a-half months of entry into the settlements. In
             9   accordance with the settlements, the Debtors proceeded with an orderly marketing
         10      process for the sale on the allotted timeframe.
         11                 The Debtors, through their professionals, then endeavored to maximize value for
         12      all of the estates’ stakeholders by, among other things, marketing and selling the
         13      interests in the contiguous parcels of land utilized in the Debtors’ operations – some of
         14      which were titled in the name of the non-debtor partners of Farms 4 – in a single sale
         15      process. The Debtors’ respective business judgment and determination in this regard is
         16      well established in various pleadings filed, and arguments made, before this court. The
         17      Debtors found that in order to avoid a material downward risk in sale value, ownership
         18      of the individual parcels making up the properties to be sold could be determined after
         19      any sale had closed for the purpose of determining the allocation of the sale proceeds
         20      as between the estates and the Easterdays listed on title.5
         21      4
                       The Debtors’ operations spanned approximately 22,500 acres over multiple farms, lots/ranches, and other
                       complexes and facilities, all of which were located in Benton County, Washington. These properties were
         22            owned, leased, or otherwise utilized, in whole or in part, by the Debtors, which interests were subject to
                       purported liens and encumbrances.
         23
                 5
                      Proceeding in this manner allowed the Debtors to efficiently market the properties with the Easterdays’
         24           cooperation, without having to litigate over ownership, while still yielding the highest and best value for
                      the Debtors’ estates. A more fulsome explanation of the basis for marketing and selling the Debtors’
         25           interests in the Sale Properties along with any non-debtors’ interests in such property is set forth in the
                      Declaration of T. Scott Avila in Support of Debtors’ Motions to Approve Bidding Procedures and Sale
         26           Motion and Cooperation Agreement [Docket No. 488] and Declaration of Skye Root in Support of Debtors’
                      Supplemental Motion for Approval of (A) Designation of Stalking Horse Bidder and Related Bid
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             21-00141-WLH11            Doc 1008       Filed 08/18/21       Entered 08/18/21 14:31:43                   Pg 7 of 46
             1         In order to execute on this strategy, the Debtors immediately pivoted to (i)
             2   negotiating, documenting and obtaining court approval of a “Cooperation Agreement”
             3   whereby the partners pledged to fully cooperate in connection with the sale process,
             4   including the ultimate sale of any property to a buyer, and (ii) crafting a set of bidding
             5   procedures providing for a sale process with maximum flexibility. It was critical that,
             6   together, the Cooperation Agreement and bidding procedures be designed to ensure a
             7   collaborative and value maximizing process for the benefit of all of the Debtors’
             8   stakeholders. At the same time, in order to meet the milestones in the settlements with
             9   Tyson and Washington Mutual, it was critical that both of these tasks be completed
         10      quickly – within 30 days after entry into the settlements.
         11            During the sales and marketing process, the Debtors continued to diligence
         12      ownership of the sale properties for the purpose of determining the allocation of the sale
         13      proceeds and have continued to work with the partners to better understand these issues.
         14      While the Debtors believed that they own all of the sale properties, throughout the
         15      marketing and sale process, the partners continue to suggest that certain parcels were
         16      held by them individually.
         17            The sale process was additionally complicated by efforts of certain of the
         18      Debtors’ secured creditors to leverage the process to maximize their recovery. One of
         19      the Debtors’ secured lenders, Equitable, filed an objection to the sale, alleging that the
         20      sale could not be free and clear of its liens in any of the properties titled in the name of
         21      the Easterdays. Additionally, on the literal eve of the sale hearing, a second secured
         22      lender, Prudential, filed a similar objection raising complex and novel issues involving
         23      jurisdictional issues, Washington partnership law, and Bankruptcy Code section 363.
         24      PSZJ and the Debtors’ other professionals needed to analyze and respond to the issues
         25
                    Protections in Connection With Auction for Sale of Assets; and (B) Granting Related Relief [Docket No.
         26         724].
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             21-00141-WLH11       Doc 1008      Filed 08/18/21      Entered 08/18/21 14:31:43                  Pg 8 of 46
             1   raised by Equitable and Prudential and to craft a resolution that both preserved the
             2   estates’ arguments with respect to ownership while simultaneously enabling the sale to
             3   go forward on the requisite timeframe pursuant to the settlements with Tyson and
             4   Washington Mutual.
             5         2.     The Firm Has Served as an “Honest Broker” to Balance the
             6                Competing Interests of the Two Estates to the Benefit of All Parties
             7         These cases involve a significant number of competing interests as between
             8   lenders, creditors and equityholders. Moreover, the UST has appointed two unsecured
             9   creditors’ committees – one for each estate. Accordingly, the number of parties with
         10      their separate professionals at the table is larger than a typical case. Naturally, the two
         11      creditors’ committees maintain competing interests – alongside the interests of
         12      Washington Trust Bank, Tyson Fresh Meats, Inc., Segale, various lenders including
         13      Prudential, Equitable and others, as well as the Easterday family. The Debtors have
         14      benefited from PSZJ’s vast restructuring experience enabling them to effectively serve
         15      as an honest broker, to maintain peace, and to keep these cases from spiraling out of
         16      control given the various competing interests.
         17            3.     The Compensation Sought Is Commensurate with the Amount
         18                   Involved and the Results Achieved
         19            Ultimately, despite the overall contentious nature of these chapter 11 cases, the
         20      sale on the proposed structure was overwhelmingly either supported or unopposed by
         21      the vast majority of parties in interest, including the Official Committees of Unsecured
         22      Creditors of the Debtors, Tyson, Washington Trust, the United States Department of
         23      Justice, and the Commodities Futures Trading Commission. Moreover, the Debtors
         24      were able to resolve their disputes with Equitable and Prudential on a consensual basis
         25      utilizing escrows to address remaining disputes.
         26

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             21-00141-WLH11      Doc 1008    Filed 08/18/21   Entered 08/18/21 14:31:43                  Pg 9 of 46
             1         The sale negotiations with potential bidders similarly required sophisticated and
             2   experienced corporate counsel. The Debtors conducted simultaneous negotiations with
             3   potential bidders that were extremely complex, essentially entailing multiple asset
             4   purchase agreements. These negotiations continued up until the selection of a stalking
             5   horse bidder and were conducted under tremendous pressure to close a transaction prior
             6   to the harvest.
             7         The Debtors’ strategy and diligence with respect to an aggregate sale were
             8   rewarded when Farmland Reserve, Inc. (“FRI” or the “Stalking Horse Bidder”), as the
             9   stalking horse bidder, offered approximately $193 million in exchange for a free and
         10      clear sale order on all of the sale properties. Additionally, the Debtors’ strategy
         11      continued to reap dividends when an auction was conducted and the Stalking Horse
         12      Bidder, after five rounds of competitive bidding, raised its bid to $209 million and was
         13      designated the successful bidder. The sale to the Stalking Horse Bidder was approved
         14      at the sale hearing, satisfying the milestone in the Debtors’ settlements with Tyson and
         15      Washington Mutual.
         16            The sale has enabled pay down of substantial portions of the Debtors’ prepetition
         17      secured debt – subject to certain court-approved reserves – and netted over $100 million
         18      collectively for the estates. PSZJ seeks to be paid the amount of $3,856,743.70 for its
         19      services to facilitate the sale, totaling less than 2% of the gross sale proceeds of $209
         20      million.
         21            4.     PSZJ Is a Premier National Insolvency Firm That Has Fielded a
         22                   Team of Seasoned Bankruptcy, Litigation and Corporate
         23                   Professionals in These Chapter 11 Cases
         24            Founded in 1983, PSZJ has become the largest law firm in the country devoted
         25      primarily to corporate restructurings. Its unique philosophy sets it apart from other law
         26      firms both within the insolvency field and beyond: The strength of its team of talented
         27                                                       P ACHULSKI S TANG                   B USH K ORNFELD           L LP
                  REPLY IN SUPPORT OF                             Z IEHL & J ONES L LP
                                                                                                              LAW OFFICES
         28       PACHULSKI STANG ZIEHL &                       10100 Santa Monica Blvd., 13th Flr.
                                                                                                         601 Union St., Suite 5000
                  JONES LLP FIRST INTERIM FEE                     Los Angeles, CA 90067-4003
                                                                                                      Seattle, Washington 98101-2373
                                                                                                         Telephone (206) 292-2110
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eh18hn01d9
             21-00141-WLH11        Doc 1008   Filed 08/18/21   Entered 08/18/21 14:31:43                 Pg 10 of 46
             1   lawyers is expertise and experience, not numbers. As a result, PSZJ believes that it
             2   offers a unique combination of top-quality representation and small-firm economics and
             3   commitment.
             4            Among PSZJ’s lengthy list of awards and honors, it has recently been named
             5   “Law Firm of the Year” in bankruptcy and restructuring by U.S. News and World Report
             6   in 2020 and is consistently ranked among the top bankruptcy and restructuring practices
             7   including by the Chambers Guides, Law360, The Daily Journal, and Vault.com. The
             8   brochure attached as Exhibit A hereto evidences the breadth and depth of PSZJ’s
             9   relevant experience and accolades.
         10               Founding partner Richard Pachulski is primary counsel for the Debtors. Mr.
         11      Pachulski is widely regarded as one of the preeminent corporate restructuring attorneys
         12      in America. A fellow of the American Bankruptcy College, he has been named an
         13      “Attorney of the Year” by American Lawyer Media’s Recorder, and has been lead
         14      counsel on several deals that have been recognized as “Deal of the Year” by The M&A
         15      Advisor, Turnaround & Workouts and Global M&A Network. The members of the
         16      team of professionals that has been assembled for these chapter 11 cases bring decades
         17      of bankruptcy, litigation, and/or corporate experience to these cases. Attached hereto
         18      as Exhibit B are biographies of the attorneys that have worked directly on the Easterday
         19      cases.
         20               5.    Key Constituencies in These Cases Are Similarly Represented by
         21                     National and/or Global Law Firms
         22               The Debtors appropriately retained a sophisticated national insolvency law firm
         23      in these cases. Key constituents in these cases hired large law firms and financial
         24      advisors with national and/or global practices, among them Bryan Cave Leighton
         25      Paisner, B. Riley Advisory Services, Buchalter, Cooley LLP, Debevoise & Plimpton
         26      LLP, Dundon Advisers LLC, Perkins Coie LLP, and Stoel Rives LLP.
         27                                                      P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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                                                                                                        601 Union St., Suite 5000
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             21-00141-WLH11       Doc 1008   Filed 08/18/21   Entered 08/18/21 14:31:43                 Pg 11 of 46
             1            6.      PSZJ’s Standard Billing Rates Compare Favorably with Billing
             2                    Rates Charged by Other Law Firms for Commensurate Services
             3            PSZJ’s standard billing rates compare favorably for commensurate services. For
             4   example, a sample of fee applications filed in commercial chapter 11 bankruptcy cases
             5   during the prior 1-year period reflect the following 6:
             6                    • In the range of $800-$1,000 per hour, PSZJ’s attorneys have at least 11
             7                      years of experience and, therefore, more than double or in some cases
                                    triple the experience of the comparison sample. See, e.g., In re
             8
                                    Rentpath LLC, Case No. 20-10312 (Bankr. D. Del.) ($863 per hour for
             9                      4th-year associate); In re Sears Holdings Corp., Case No. 18-23538
                                    (Bankr. S.D.N.Y.) ($802 per hour for 2nd-year associate; $933 per hour
         10
                                    for 3rd-year associate); In re Extraction Oil & Gas Corp., Case No. 20-
         11                         11548 (Bankr. D. Del.) ($802 per hour for 2nd-year associate); In re
                                    Mallinckrodt, Case No. 20-12522 (Bankr. D. Del.) ($898 per hour for
         12
                                    4th-year associate); In re Brooks Brothers, Case No. 20-11785 (Bankr.
         13                         D. Del.) ($843 per hour for 3rd-year associate).
         14                       • At the level of $1,000+ per hour, PSZJ attorneys staffed on these cases
         15                         have at least 25 years of experience versus much lower minimum years
                                    of experience by the comparison sample. In re Hospital Acquisition,
         16                         Case No. 19-10998 (Bankr. D. Del.) ($1,111 per hour for counsel with
         17                         10 years of experience); In re Mallinckrodt, Case No. 20-12522 (Bankr.
                                    D. Del.) ($1,207 per hour for counsel with 15 years of experience); In
         18                         re Purdue Pharma, Case No. 19-23649 (Bankr. S.D.N.Y.) ($1,028 per
         19                         hour for counsel with 6 years of experience); In re Brooks Brothers,
                                    Case No. 20-11785 (Bankr. D. Del.) ($1,260 per hour for counsel with
         20                         17 years of experience).
         21               The billing rates in the Astria Health cases are not the benchmark merely because
         22      the Astria Health cases are commercial bankruptcy cases that were filed in the Eastern
         23      District of Washington. As discussed above, the standard for calculation of the market
         24      rate is not so restricted. Moreover, in the Astria Health cases Dentons US LLP
         25

         26      6
                      See https://reorg.com .
         27                                                         P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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eh18hn01d9
             21-00141-WLH11          Doc 1008   Filed 08/18/21   Entered 08/18/21 14:31:43                 Pg 12 of 46
             1   (“Dentons”) sought employment approximately two years before PSZJ’s employment
             2   application was filed in these cases and thus a blended rate of $800 may not be that
             3   firm’s current rates for a complex commercial debtor case. 7 Moreover, in Astria Health,
             4   Dentons voluntarily discounted its standard billing rates in its engagement letter. 8 Here,
             5   in contrast, in light of the complexity of the case and scope of issues involved, PSZJ did
             6   not agree up-front to discount its standard billing rates (a fact which was fully disclosed
             7   in PSZJ’s employment application 9).               It should be further noted that Dentons’
             8   contracted-for billing rates in Astria Health were also much higher than local or regional
             9   billing rates at that time, yet they were still honored and awarded under Bankruptcy
         10      Code section 330. Accordingly, PSZJ’s contracted for rates should be honored in these
         11      cases as well.
         12                 The fact that Astria Health involved a “reorganization” rather than a “liquidation”
         13      does not alter the analysis whatsoever. As amply demonstrated by the record in these
         14      cases, a chapter 11 reorganization case is not inherently more complex than a liquidating
         15      chapter 11 case. Moreover, valuing legal services merely depending upon whether the
         16      debtor reorganizes or liquidates would create a two-tier system that would discourage
         17      attorneys from taking a case if the client does not have a strong chance of reorganizing.
         18      Bankruptcy Code section 330 does not provide for such a bizarre outcome, and the UST
         19      cites no precedent for such a standard as a benchmark for reviewing and approving
         20      professional fees.
         21

         22

         23
                 7
                      See Debtors’ Application for An Order Approving the Employment of Dentons US LLP as Counsel Nunc
         24           Pro Tunc to May 6, 2019, Case No. 19-01189-11 (Bankr. E.D. Wash. May 31, 2019) [Docket No. 194].
         25      8
                      Id.
                 9
                      Debtors’ Application for Order Approving Employment of Pachulski Stang Ziehl & Jones LLP [Docket
         26           No. 105].
         27                                                             P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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eh18hn01d9
             21-00141-WLH11         Doc 1008     Filed 08/18/21     Entered 08/18/21 14:31:43                  Pg 13 of 46
             1         7.     Other than the UST, No Party in Interest Has Objected to PSZJ’s
             2                Billing Rates
             3         Notably, only the UST has objected to PSZJ’s billing rates. This is the case
             4   despite the fact that PSZJ’s billing rates as disclosed in its employment application
             5   indicated that the lowest billing rate of the attorneys staffed on these cases is $750. It
             6   has been clear from the outset, therefore, that PSZJ’s blended rate would exceed $800.
             7         8.     The Blended Billing Rate for the Debtors’ Bankruptcy Counsel Is
             8                Closer to $975 than $1,053, When Factoring In Local Counsel Bush
             9                Kornfeld
         10            The Debtors employed two law firms, PSZJ and leading regional firm, Bush
         11      Kornfeld, as bankruptcy co-counsel to jointly represent them in these chapter 11 cases.
         12      Bush Kornfeld has performed many of the services required to administer the cases at
         13      a substantial savings to the estates. After factoring Bush Kornfeld’s billing rates and
         14      hours into the lodestar calculation, the blended billing rate (including paraprofessionals)
         15      of the Debtors’ bankruptcy counsel is actually closer to $975 than to $1,053.
         16            9.     PSZJ Assumed the Representation Notwithstanding a Meaningful
         17                   Risk of Non-Payment
         18            Prior to the commencement of these chapter 11 cases, there was no evidence that
         19      funds would be available to satisfy professional fees, as the Debtors faced uncertainty
         20      with respect to their real property interests and anticipated an onslaught of trustee
         21      motions – which were filed almost immediately after the commencement of these
         22      chapter 11 cases. Additionally, without the Cooperation Agreement in place – which
         23      was finalized over two months after these chapter 11 cases were filed – there was no
         24      guarantee that any of the estates’ professionals would be paid at all.
         25            Absent experienced professionals at the helm of the Debtors, multiple trustee
         26      motions would have moved forward and, if granted, led to chaos within these chapter
         27                                                      P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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eh18hn01d9
             21-00141-WLH11     Doc 1008    Filed 08/18/21   Entered 08/18/21 14:31:43                  Pg 14 of 46
             1   11 cases, including the appointment of multiple trustees (one for each estate) and the
             2   likely commencement of individual bankruptcies by the Easterdays and the appointment
             3   of additional trustees – resulting in years of litigation and the destruction of asset value
             4   (e.g., piecemeal liquidation of parcels of land and pieces of equipment).
             5   B.    Litigation Attorneys’ Purportedly Vague Time Descriptions Properly
             6         Protect Privileged Information Without the Additional Work of
             7         Burdensome Redactions.
             8         The UST further objects to certain time entries on the grounds that they are
             9   missing activity descriptions. Obj. at pp. 7-9. As the UST recognizes, however, most
         10      of the subject time entries involve litigation related to the Debtors’ response to a 2004
         11      motion filed by the Ranches Committee. The time entries are, therefore, appropriately
         12      drafted to protect the attorney-client privilege. The alternative is to draft more fulsome
         13      activity descriptions and redact them, which approach is both inefficient and risks that
         14      the person preparing the fee application inadvertently fails to redact privileged
         15      information to the estates’ detriment. PSZJ has not had this manner of drafting billing
         16      descriptions for similar litigation work challenged in any of its cases.
         17      C.    There Is No Inflation in the Bill Due to Computational Errors
         18            PSZJ disagrees with the UST’s objection to certain fee entries on the grounds that
         19      they are inflated due to computational errors. Obj. at p.7. There are three specific
         20      entries at issue. Ms. Jeffries’ entry contains a typographical error in the task description
         21      which ascribes too little time spent to the tasks. The total of .6 hours/$276.00 is correct.
         22      The missing subparts in Mr. Wallen’s two challenged entries are implied in each of his
         23      entries. For example, the entry on March 12, 2021 means that Mr. Wallen conducted
         24      the research for 2.4 hours and had the call with Mr. Rosell for .2 hours. Similarly, the
         25      entry on May 2, 2021 means that Mr. Wallen had a call with Mr. Rosell for .2 hours and
         26      revised the issues list for .2 hours, totaling the .4 hours billed.
         27                                                       P ACHULSKI S TANG                   B USH K ORNFELD           L LP
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             21-00141-WLH11      Doc 1008    Filed 08/18/21    Entered 08/18/21 14:31:43                 Pg 15 of 46
             1   D.    PSZJ Attorneys’ Hearing Attendance Was Reasonable and Necessary
             2         PSZJ further disputes the UST’s contention that too many attorneys attended
             3   hearings. In order for the professionals on the team to provide the services needed on
             4   the timeframe required by these cases, they needed to be kept informed and up-to-speed.
             5   Given that hearings were all conducted remotely, the most efficient way to do this is to
             6   encourage team member attendance without the associated cost of travel. Only when
             7   fully up to speed at all times can each team member conduct their work in a manner
             8   befitting cases of this size involving numerous bankruptcy, litigation, transactional, and
             9   real estate issues among many others. Nonetheless, PSZJ has already voluntarily
         10      reduced its fees by writing off the attendance of several attorneys who attended the July
         11      auction which reductions will be reflected in a future application.
         12                                                  III.
         13                                          CONCLUSION
         14            WHEREFORE, for all of the foregoing reasons, and such additional reasons as
         15      may be advanced at or prior to the hearing regarding the Application, the Debtors
         16      respectfully request (a) the entry of an Order approving the Application, and (b) such
         17      other and further relief as the court may deem just and proper.
         18      Dated: August 18, 2021           BUSH KORNFELD LLP
         19                                       /s/ Thomas A. Buford, III
         20                                       THOMAS A. BUFORD, III (WSBA 52969)
                                                  BUSH KORNFELD LLP
         21

         22                                       RICHARD M. PACHULSKI (admitted pro hac vice)
                                                  JEFFREY W. DULBERG (admitted pro hac vice)
         23                                       JASON H. ROSELL (admitted pro hac vice)
         24                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                  Attorneys for Debtors and Debtors in Possession
         25

         26

         27                                                         P ACHULSKI S TANG                 B USH K ORNFELD           L LP
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eh18hn01d9
             21-00141-WLH11     Doc 1008    Filed 08/18/21    Entered 08/18/21 14:31:43                  Pg 16 of 46
             1                                            EXHIBIT A
             2
                                                        PSZJ Brochure
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             21-00141-WLH11          Doc 1008   Filed 08/18/21   Entered 08/18/21 14:31:43   Pg 17 of 46
                     Firm Profile

                     ABOUT US
                     Since 1983, Pachulski Stang Ziehl & Jones has maintained a commitment to
                     excellence that has earned it recognition as one of the nation's top
                     insolvency practices. We are the largest law firm in the country devoted
                     primarily to corporate restructurings, with offices in Los Angeles, San
                     Francisco, New York, and Delaware. But our philosophy has not changed:
                     The strength of our team of talented lawyers is expertise and experience,
                     not numbers. As a result, we believe we offer a unique combination of top-
                     quality representation and small-firm economics and commitment.

                     We have depth and expertise in four distinct, but closely related areas:
                     ◢   Bankruptcy reorganizations and out-of-court workouts
                     ◢   Bankruptcy litigation, including avoidance actions and claim litigation
                     ◢   Business litigation in courts of all jurisdictions
                     ◢   Corporate, securities, and fiduciary duties

                     We provide exceptional and effective representation to large public
                     corporations and smaller businesses, debtors, creditors' committees and
                     trustees, across many industries. We have a proven track record of success,
                     and understand full well that we are judged by the results we achieve for
                     our clients.


                     WHAT SETS US APART
                     Clients hire lawyers, not law firms. We do not overlawyer matters, and the
                     attorneys that our clients hire stay actively involved. Our firm is not
                     leveraged on large numbers of associates. The result, we believe, is cost-
                     effective representation and greater client satisfaction. Although our
                     primary objective is to seek business solutions to clients' problems, we are
                     known as effective litigators as well as skilled negotiators. The credible
                     threat of litigation allows us to maximize results in negotiations. If
                     negotiations fail, we are prepared to aggressively litigate our clients'
                     positions.

                     As a result of our roots representing smaller clients many years ago, we
                     have come to appreciate the need to make sure management/board/
                     employees feel comfortable about the restructuring because it is such
                     unfamiliar territory for companies. As a result, we develop strong
                     relationships with client representatives as we guide them through the
                     process.

                     This personalized representation is often cited by our clients as something
                     that sets us apart from large firms.




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 21-00141-WLH11   Doc 1008    Filed 08/18/21      Entered 08/18/21 14:31:43         Pg 18 of 46
                     Firm Profile (Cont.)



                     OUR DEBTOR PRACTICE
                     The firm regularly represents debtors and debtors in possession in out-of -
                     court workouts and chapter 11 cases. Members of the firm have represented
                     a wide range of debtors in cases nationwide. Often, these representations
                     include overseas operations and crossborder insolvencies. Our practice
                     spans across all industries including retailers, manufacturers, solar-panel
                     manufacturers, special effects, oil and gas, restaurants, airlines, real estate
                     companies, and technology companies.


                     BENEFITS OF A BOUTIQUE VS. A LARGE FIRM
                     We are the nation’s largest stand-alone law firm dedicated to representing
                     operationally and/or financially challenged companies in out-of-court
                     restructurings or chapter 11 cases. The firm has one of the most extensive
                     debtor practices in the country. It includes 60+ attorneys working in four
                     offices located in Los Angeles, San Francisco, New York and Wilmington,
                     Delaware. The firm has more partners and senior-level restructuring
                     attorneys than any other restructuring firm. Their depth and knowledge
                     base translates into hands-on advocacy by seasoned professionals who
                     work closely with the client to design and implement restructuring
                     strategies. The Firm delivers top quality legal services in an efficient manner
                     with experienced and lean teams.

                     The firm’s attorneys are known for their strategic capabilities and concrete
                     advice. Clients often comment that it is refreshing to work with attorneys
                     who provide true, strategic advice instead of hedging various legal
                     alternatives. Consequently, our expertise enables us to quickly spot
                     pressure points, leverage our client’s positions, or craft creative, consensus-
                     building solutions to difficult problems. Because we are a national law firm,
                     we can place an attorney on site to address and respond to restructuring
                     issues as they arise and, if necessary, prepare the company for a chapter 11
                     filing.

                     We staff our cases more effectively and efficiently with seasoned senior
                     attorneys, rather than inexperienced young lawyers. As a result, the client
                     gets access to senior lawyers while overall fees charged are less than would
                     be charged at a large firm. In addition, given that we generally do not
                     represent financial institutions, we avoid many of the conflict problems that
                     large firms have in the restructuring arena.




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 21-00141-WLH11   Doc 1008   Filed 08/18/21      Entered 08/18/21 14:31:43          Pg 19 of 46
                     Awards & Honors

                     2021
                     ◢   PSZJ Cases Win “Cross-Border Turnaround of the Year,” “Corporate
                         Turnaround of the Year,” and “Liquidation of the Year” at 2021
                         Turnaround Atlas Awards
                     ◢   Prestigious Chambers Guides Again Rank PSZJ Among Leading Law
                         Firms
                     ◢   IWIRC Names Debra Grassgreen Its 2021 "Woman of the Year in
                         Restructuring"
                     ◢   Nineteen PSZJ Attorneys Named 2021 Southern California “Super
                         Lawyers”

                     2020
                     ◢   PSZJ Selected for Inclusion in Global Restructuring Review's Prestigious
                         “GRR 100” 2020 Survey
                     ◢   PSZJ Attorneys Recognized as Global Leaders in 2021 Who's Who
                         Restructuring & Insolvency Guide
                     ◢   PSZJ Attorneys Named in 2021 Edition of Best Lawyers in America
                     ◢   Dean Ziehl Named a “Lawyer of the Year” in 2021 Edition of Best
                         Lawyers in America
                     ◢   PSZJ Attorneys Named in Best Lawyers in America
                     ◢   Richard Pachulski Again Listed Among Los Angeles Business Journal’s
                         “Most Influential” in Los Angeles
                     ◢   Prestigious Chambers Guides Again Rank PSZJ Among Leading Law
                         Firms
                     ◢   Five PSZJ Attorneys Named Who’s Who Legal Thought Leaders
                     ◢   Richard Pachulski and Teddy Kapur Named to the Super Lawyers Top 100
                         List
                     ◢   Twenty-One PSZJ Attorneys Named 2020 Southern California “Super
                         Lawyers”

                     2019
                     ◢   Debra Grassgreen Selected to Global Restructuring Review’s 2019
                         Women in Restructuring Survey
                     ◢   Pachulski Stang Ziehl & Jones Recognized as 2020 "Law Firm of the Year,
                         " Named to U.S. News & World Report's "Best Law Firms”
                     ◢   PSZJ Named to 2020 Edition of Benchmark Litigation California, Dean
                         Ziehl Named “Litigation Star"
                     ◢   Pachulski Stang Ziehl & Jones Named 2019 Delaware Regional
                         Powerhouse by Law360
                     ◢   PSZJ Attorneys Named in Best Lawyers in America
                     ◢   Jeffrey Pomerantz Named a “Lawyer of the Year” in 2020 Edition of The
                         Best Lawyers in America
                     ◢   Pachulski Stang Ziehl & Jones Achieves Top Ranking in Debtwire’s
                         Restructuring Advisory Mandate Report for First Half of 2019




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 21-00141-WLH11   Doc 1008    Filed 08/18/21     Entered 08/18/21 14:31:43        Pg 20 of 46
                     Awards & Honors (Cont.)


                     ◢   Pachulski Stang Ziehl & Jones Among Global Restructuring Review's Top
                         30 Law Firms
                     ◢   Peter Keane Receives M&A Advisor’s 10th Annual Emerging Leaders
                         Award
                     ◢   James Stang Recognized in UC Hastings Law “Gamechangers” Issue
                     ◢   Shirley Cho Listed Among Daily Journal Top Women Lawyers in 2019
                     ◢   Prestigious Chambers Guides Again Rank PSZJ Among Leading Law
                         Firms
                     ◢   Northern California Super Lawyers and a Rising Star
                     ◢   Twenty-One PSZJ Attorneys Named 2019 Southern California “Super
                         Lawyers”
                     ◢   Richard Pachulski Named to “Super Lawyers: Top 100” List
                     ◢   Teddy Kapur Named to the Los Angeles Business Journal's "Most
                         Influential Minority Lawyers" 2019 List

                     2018
                     ◢   Pachulski Stang Ziehl & Jones Receives 17th Annual M&A Advisor Award
                         for Bon-Ton Restructuring
                     ◢   Pachulski Stang Ziehl & Jones Named to U.S. News & World Report's
                         "Best Law Firms"
                     ◢   Pachulski Stang Ziehl & Jones Receives TMA Pro Bono Transaction of the
                         Year Award
                     ◢   Forty-six PSZJ Attorneys Named Best Lawyers in America
                     ◢   Laura Davis Jones Receives Prestigious "Women Leadership" Award at
                         the 10th Annual Turnaround Atlas Awards
                     ◢   Pachulski Among Global Restructuring Review's Top 100 Law Firms
                     ◢   Gabriel Glazer Named to “Super Lawyers” Rising Stars Top 100 List
                     ◢   Pachulski Stang Ziehl & Jones Wins M&A Advisor "Restructuring of the
                         Year Award" for BCBG/Max Azria
                     ◢   Prestigious Chambers Guides Again Rank PSZJ Among the Best Law
                         Firms
                     ◢   Jeffrey Pomerantz: Bankruptcy Lawyer of the Year
                     ◢   Twenty PSZJ Attorneys Named 2018 Southern California “Super
                         Lawyers”
                     ◢   Richard Pachulski Named to Thomson Reuters’s “Super Lawyers: Top
                         100” List
                     ◢   Pachulski Stang Ziehl & Jones Wins M&A Advisor “Restructuring Deal of
                         the Year” Award for Payless Debt Restructuring
                     ◢   Pachulski Stang Ziehl & Jones Wins TMA Turnaround Transaction of the
                         Year Award for Work on Aeropostale

                     2017
                     ◢   Thirty-Five PSZJ Attorneys Named Best Lawyers in America
                     ◢   Gabe Glazer Receives M&A Advisor’s 8th Annual Emerging Leaders
                         Award




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 21-00141-WLH11   Doc 1008    Filed 08/18/21    Entered 08/18/21 14:31:43        Pg 21 of 46
                     Awards & Honors (Cont.)


                     ◢   PSZJ Selected for Inclusion in Global Restructuring Review's Prestigious
                         “GRR 100” Survey
                     ◢   Prestigious Chambers Guides Again Rank PSZJ Among the Best Law
                         Firms
                     ◢   Peter Keane Selected to Participate in NCBJ Next Generation Program
                     ◢   PSZJ Wins Four M&A Advisor “Turnaround” Awards
                     ◢   Eighteen PSZJ Attorneys Named 2017 Southern California “Super
                         Lawyers”

                     2016
                     ◢   Pachulski Stang Ziehl & Jones Named to U.S. News & World Report's
                         "Best Law Firms"
                     ◢   Linda Cantor and Shirley Cho: Top Women Lawyers in Southern
                         California
                     ◢   Richard Pachulski Listed Among Los Angeles Business Journal’s “Most
                         Influential” in Los Angeles
                     ◢   Nineteen PSZJ Attorneys Named Best Lawyers in America
                     ◢   Jason Rosell: Super Lawyer Rising Star for Three Years Running
                     ◢   Gabe Glazer Named to "Up-and-Coming 100: 2016 Southern California
                         Rising Stars” List by Super Lawyers
                     ◢   Teddy Kapur Named to Los Angeles and San Francisco Daily Journal’s
                         “Top 40 Under 40”
                     ◢   Debra Grassgreen Included in Daily Journal’s Top Women Lawyers of
                         2016
                     ◢   Richard Pachulski Makes List of Top 10 Southern California Super
                         Lawyers

                     2015
                     ◢   Pachulski Stang Ziehl & Jones Named a Winner at the 10th Annual M&A
                         Advisor Turnaround Awards
                     ◢   Four Pachulski Lawyers Named "Northern California's Best Lawyers"
                     ◢   PSZJ Ranked Among Law360’s Busiest Bankruptcy Practice Groups
                     ◢   Seventeen PSZJ Attorneys Named Best Lawyers in America
                     ◢   PSZJ Shortlisted for Chambers USA Awards 2015 in Bankruptcy Law
                     ◢   Fourteen PSZJ Attorneys Selected as Southern California Super Lawyers

                     2014
                     ◢   Select Staffing Wins Restructuring Deal of the Year at 13th Annual M&A
                         Advisor Awards
                     ◢   Jason Pomerantz Settles the Most Mediations in Central District of
                         California
                     ◢   Henry Kevane Inducted Into American College of Bankruptcy
                     ◢   Michael Seidl Honored With University of Delaware Citation for
                         Outstanding Achievement
                     ◢   Rob Feinstein Named Among Top 100 Restructuring & Turnaround
                         Professionals



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 21-00141-WLH11   Doc 1008    Filed 08/18/21     Entered 08/18/21 14:31:43         Pg 22 of 46
                     Awards & Honors (Cont.)


                     ◢   Fourteen PSZJ Atttorneys Named Best Lawyers in America
                     ◢   Four PSZJ Lawyers in San Francisco Named Super Lawyers
                     ◢   Teddy M. Kapur Named One of NAPABA’s “Best Lawyers Under 40”
                     ◢   Jason Rosell Selected to Participate in NCBJ Next Generation Program
                     ◢   Three PSZJ Attorneys Named Delaware Super Lawyers
                     ◢   Gabe Glazer and Teddy Kapur Recognized as Southern California Rising
                         Stars by Super Lawyers
                     ◢   Rob Feinstein Invited to Join International Insolvency Institute
                     ◢   Linda Cantor Named in Daily Journal's "Top Women Lawyers" List
                     ◢   Dean Ziehl Selected Bankruptcy Lawyer of the Year by Century City Bar
                         Association
                     ◢   Pachulski Stang Ziehl & Jones Wins Five M&A Advisor Turnaround
                         Awards
                     ◢   Eleven Lawyers at Pachulski Named Super Lawyers in Southern
                         California

                     2013
                     ◢   Solyndra Bankruptcy Reorganization Wins ACG Energy Deal of the Year
                     ◢   Debra Grassgreen Named to Daily Journal's Top 100 Women Lawyers for
                         2013
                     ◢   Teddy Kapur Recognized: Under 40 M&A Advisor Awards
                     ◢   Richard Pachulski Named an Attorney of the Year by The Recorder
                     ◢   Pachulski Stang Ziehl & Jones Wins Big at M&A Advisor Turnaround
                         Awards
                     ◢   Teddy Kapur Recognized as a Southern California Rising Star by Super
                         Lawyers
                     ◢   Three Pachulski Lawyers Named "Northern California's Best Lawyers"
                     ◢   Nine Southern California Super Lawyers at Pachulski Stang
                     ◢   Teddy Kapur Selected as a California Lawyer on the Fast Track

                     2012
                     ◢   Teddy Kapur Selected to Participate in NCBJ Next Generation Program
                     ◢   Pachulski Stang Ziehl & Jones Ranked Among Nation's Top Ten
                         Bankruptcy Firms
                     ◢   Pachulski Stang Ziehl & Jones Named Mid-Market Law Firm of the Year
                     ◢   Pachulski Stang Ziehl & Jones Wins Award: Media & Entertainment
                         Turnaround of the Year
                     ◢   Pachulski Stang Ziehl & Jones Wins Award: 2012 Middle Market
                         Turnaround of the Year
                     ◢   Teddy Kapur Wins "40 Under 40" M&A Advisor Recognition Award

                     2011
                     ◢   Henry Kevane Named Among Top 25 California Municipal Lawyers
                     ◢   New York Super Lawyer




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 21-00141-WLH11   Doc 1008    Filed 08/18/21    Entered 08/18/21 14:31:43        Pg 23 of 46
                     Awards & Honors (Cont.)


                     ◢   Pachulski Stang Wins Corporate Turnaround Deal of the Year Award
                     ◢   Pachulski Stang Honored for Work on Flying J and The Walking Company
                         Chapter 11 Cases

                     2010
                     ◢   Southern California Rising Star Seven Years Running
                     ◢   Z Gallerie Wins Award for Corporate Turnaround Deal of the Year
                     ◢   James Stang Named Bankruptcy Lawyer of the Year




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 21-00141-WLH11   Doc 1008    Filed 08/18/21    Entered 08/18/21 14:31:43         Pg 24 of 46
                     Practice Areas Overview

                     Business Reorganizations & Workouts

                     We have one of the largest and most highly regarded bankruptcy practices
                     in the nation. Our bankruptcy attorneys are experienced in representing all
                     of the major constituencies in bankruptcy proceedings and out-of-court
                     workouts, including debtors, committees, trustees, secured and major
                     unsecured creditors, bondholders, asset purchasers, and third-party plan
                     proponents. Our clients include large public corporations as well as small
                     businesses and individuals. Our effectiveness is enhanced by this breadth of
                     experience and our capability in virtually all aspects of chapter 11 cases.

                     General Business and Commercial Litigation

                     Our litigation attorneys have represented plaintiffs and defendants in a wide
                     variety of business litigation in both state and federal courts, including
                     contract disputes, fraud actions, and similar commercial matters. We have
                     also represented companies in litigation relating to misappropriation of
                     trade secrets, unfair competition, and other unlawful business practices.
                     Members of our firm have extensive experience in bringing and defending
                     motions for prejudgment remedies (e.g., receivership, attachment, claim
                     and delivery).

                     Corporate

                     Our corporate transactional attorneys have expertise across a broad
                     spectrum of areas, including sales of companies or their assets, financing,
                     real-estate purchase and sales, development and commercial leasing, and
                     workouts. In addition to handling transactions outside of bankruptcy, our
                     transactional attorneys are uniquely qualified to handle the problems and
                     issues associated with representing clients in transactions taking place in
                     the context of bankruptcy cases.

                     Bankruptcy Litigation

                     The bankruptcy litigators at Pachulski Stang Ziehl & Jones stand ready to
                     defend or prosecute the rights of creditors, debtors, committees, and
                     trustees in all litigation forums. Our extensive bankruptcy experience allows
                     us to intelligently and effectively navigate the many types of proceedings
                     and issues that are generated in in bankruptcy cases. Whether in trial,
                     arbitration or mediation, our litigators work hand in hand with our
                     restructuring attorneys to achieve the most favorable, efficient outcome for
                     our clients. After 30 years, it is only natural that our trial attorneys know the
                     ins and outs of bankruptcy law.




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 21-00141-WLH11   Doc 1008    Filed 08/18/21      Entered 08/18/21 14:31:43           Pg 25 of 46
                      Agriculture

                      The firm has substantial experience in the restructuring and bankruptcy of
                      large agricultural companies and is familiar with many of the unique issues
                      they present, such as cooperative ownership structures, the interplay
                      between the competing interests of providers such as growers and other
                      creditors, the handling of grower and producer liens, and intellectual
INDUSTRY CONTACT      property issues under the Plant Variety Protection Act and similar laws.
                      Some of our experience in agricultural cases includes:
John D. Fiero

                      Representative Cases
                      Deerfield Ranch Winery
                      The firm represented the creditors' committee in this chapter 11 case. The
                      debtor’s plan paid unsecured creditors in full, plus interest.
                      Allens Inc. (counsel to asset purchaser Sager Creek)
                      The firm represented Sager Creek after it purchased Allens, Inc. out of
                      bankruptcy and handled Sager Creek’s out-of-court stabilization and sale of
                      its business to Del Monte Foods. Sager Creek employed approximately
                      1,000 people in Arkansas, Wisconsin and North Carolina, operating as a
                      canner of fruits and vegetables.
                      Groeb Farms
                      The firm is counsel for the creditors' committee of Groeb Farms, which is
                      the leading processor and package of honey for food manufacturers, food
                      service companies, and retail customers. For the fiscal year ended
                      December 31, 2012, the debtor had net sales from operations of $137.8
                      million.
                      Rocket Farms
                      The firm represented Rocket Farms in connection with two acquisitions. The
                      first involved the acquisition of substantially all of the assets of
                      Nurserymen's Exchange through a 363 sale in the Bankruptcy Court for the
                      Northern District of California. The second involved the acquisition of herb
                      thyme farms through a UCC foreclosure sale.
                      Harry & David Holdings
                      The firm was recently retained to represent the creditors' committee as its
                      cocounsel and conflicts counsel in the Harry & David's pre-arranged case.
                      Harry & David is a producer and marketer of premium gift-quality fruit,
                      gourmet food products, and specialty gifts headquartered in Medford,
                      Oregon.
                      Humboldt Creamery
                      Humboldt Creamery, a dairy and milk processor with a focus on ice cream
                      products based in Fernbridge, California, reported approximately $100
                      million in sales in 2008 before its chief executive officer resigned amid a
                      fraud scandal that prompted a criminal investigation. A sale of the debtor's
                      operating assets concluded and a liquidating plan was confirmed in 2009.
                      The firm represented the creditors' committee in the case and now
                      represents the liquidating trustee.




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  21-00141-WLH11   Doc 1008   Filed 08/18/21     Entered 08/18/21 14:31:43          Pg 26 of 46
                     Agriculture (Cont.)



                     Pacific Lumber
                     The firm represented the creditors' committee in the bankruptcy case of
                     Pacific Lumber Company and its affiliates. The case involved a wide range
                     of timber-related assets, including over 200,000 acres of prime forestlands, a
                     lumber mill, a cogeneration plant, and a company town. Through the efforts
                     of the firm, the committee, as coproponent of a confirmed plan of
                     reorganization, was successful in realizing an estimated 75% return for
                     unsecured creditors, despite the fact that the company had approximately
                     $900 million of senior secured debt and over $20 million in underfunded
                     pension obligations.
                     Sun World International
                     The firm represented the official equity holders' committee of this company
                     and its affiliates, which formed one of the largest growers, packers, haulers
                     and marketers of fresh fruit and produce in California, with annual sales in
                     excess of $200 million.
                     Agway
                     The firm served as counsel to the creditors' committee of unsecured
                     creditors of Agway, Inc., one of the largest agricultural cooperatives in the
                     United States. For many years, Agway marketed and sold to its grower
                     members so-called “money market certificates” that were in fact
                     subordinated debentures that Agway did not have the ability to repay.
                     Agway permitted early purchasers of these instruments to redeem them,
                     using the proceeds of subsequent sales of the same instruments, until the
                     financial house of cards collapsed. As counsel to the committee, the firm
                     pursued claims against the officers and directors and outside auditors, and
                     worked with the debtor’s crisis management team on asset liquidations that
                     eventually yielded in excess of 65 cents on the dollar to the certificate
                     holders.
                     Tri Valley Growers
                     At the time of its chapter 11 bankruptcy, Tri-Valley was the largest canner of
                     peaches in the nation and a major processor of tomatoes and tomato
                     products. The firm was chapter 11 counsel to this nonprofit agricultural
                     cooperative with annual revenues of approximately $800 million. With DIP
                     financing put in place in advance of the summer "pack," the debtor was sold
                     to its secured lenders through a negotiated plan of reorganization in a case
                     that concluded in less than one year.
                     AgriBio Tech
                     AgriBioTech and its subsidiaries were the sixth largest producer of turf grass
                     seed and forage seed in the world. The result of an industry roll-up of thirty
                     four separate companies, AgriBioTech had combined revenues of
                     approximately $400 million in the year prior to its bankruptcy. The firm
                     negotiated far-reaching settlements with major constituencies and a series
                     of going-concern sales before confirming a plan of reorganization. During
                     the case, we developed a cross-border protocol and coordinated the chapter
                     11 case with a Canadian reorganization proceeding of a Canadian affiliate,
                     including linking a U.S. and Canadian judge for combined videophone
                     hearings.




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 21-00141-WLH11   Doc 1008   Filed 08/18/21      Entered 08/18/21 14:31:43         Pg 27 of 46
             1                                            EXHIBIT B
             2                                       Attorney Biographies
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             21-00141-WLH11          Doc 1008   Filed 08/18/21   Entered 08/18/21 14:31:43   Pg 28 of 46
10100 Santa Monica Blvd.
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Los Angeles, CA 90067-4003
                                  Tel: 310.277.6910    |   rpachulski@pszjlaw.com



EDUCATION                         Mr. Pachulski is widely regarded as one of the preeminent corporate
University of California at
                                  restructuring attorneys in America. He has been named an “Attorney of the
Los Angeles (B.A., summa          Year” by American Lawyer Media’s Recorder, and has been lead counsel on
cum laude, 1976)                  several deals that have been recognized as “Deal of the Year” by The M&A
                                  Advisor, Turnaround & Workouts and Global M&A Network. During 2019, in
Stanford University (J.D.
                                  addition to working on several out-of-court workouts, Mr. Pachulski served
1979)
                                  as creditors' committee counsel in the successful chapter 11 reorganization
Phi Beta Kappa; Pi Gamma          of Woodbridge Group of Companies, a $1.2 billion fraud/Ponzi scheme also
Mu                                involving hundreds of millions of dollars of very high-end residential real
                                  estate; as debtor's counsel in White Eagle Asset Portfolio, owner of over
BAR AND COURT                     $2.5 billion in face amount of life-insurance policies; and as debtor's counsel
ADMISSIONS
                                  in Fuse LLC, a leading multicultural media company owning two cable
1979, California                  networks. During the first few months of 2020, in addition to working on
                                  certain out-of-court workouts, Mr. Pachulski has principally worked on the
CLERKSHIPS                        chapter 11 case of Yueting Jia, an individual seeking to restructure
Judicial extern, Robert M.        approximately $4 billion of debt who historically has been referred to as the
Takasugi (C.D. Cal. 1978-79)      "Steve Jobs of China."
                                  Over Mr. Pachulski's career, a sampling of his roles as lead debtor counsel
                                  include the corporate restructurings of American Suzuki Motor Corporation,
                                  Solyndra LLC, and Mesa Airlines. Additionally, Mr. Pachulski also recently
                                  was lead bankruptcy counsel to Lehman Brothers in a matter involving over
                                  $2 billion due to Lehman Brothers.

                                  For the past four decades, Mr. Pachulski has represented debtors and
                                  creditors' committees in both out-of-court workouts and in-court
                                  proceedings. In addition, he has extensive experience in business
                                  reorganizations, as well as debtor/creditor litigation across numerous
                                  industries. During the 1980s, he was a well-known chapter 7 and chapter 11
                                  trustee. His work over this time span led to inclusion in the American
                                  College of Bankruptcy, an honorary association of the nation’s most
                                  esteemed bankruptcy and insolvency professionals.




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  21-00141-WLH11               Doc 1008   Filed 08/18/21      Entered 08/18/21 14:31:43          Pg 29 of 46
                     Richard M. Pachulski (Cont.)



                     Other career highlights include representation of the debtors in MagnaChip
                     Semiconductor, Breed Technologies, Sizzler International, Covad
                     Communications and Peregrine Systems; representation of the Circuit City
                     creditors’ committee and, thereafter, the Circuit City liquidating trustee;
                     representation of the ad hoc bondholders' committee in Adelphia
                     Corporation; and lead counsel in the restructuring of the debts of
                     internationally acclaimed singer-songwriter Toni Braxton. In total, he has
                     assisted in tens of billions of dollars in restructurings during his career.

                     Several national publications and organizations frequently recognize Mr.
                     Pachulski for his work in the restructuring and turnaround field. For
                     example, Chambers USA repeatedly ranks him as a top-tier national
                     bankruptcy/restructuring attorney; Best Lawyers in America has listed him
                     among the nation’s top bankruptcy attorneys every year since 1995; K&R
                     Restructuring Register and Turnaround & Workouts listed him as one of
                     America's top restructuring professionals; California Law Business listed
                     him as one of “California's 100 Most Influential Attorneys;” and Los Angeles
                     Business Journal listed him as one of fifteen top banking & finance
                     “turnaround artists.” He also holds an “AV Preeminent Peer Rating,”
                     Martindale-Hubbell's highest recognition for ethical standards and legal
                     ability. In 2016, he was named to Thomson Reuters’ “Top 10: 2016 Southern
                     California Super Lawyers” list and in 2018 was listed by Who's Who Legal
                     among "Thought Leaders - Restructuring & Insolvency." He was listed by
                     Lawdragon as one of the 2020 "Lawdragon 500 Leading Global
                     Restructuring & Insolvency Lawyers."

                     Mr. Pachulski is a graduate of UCLA, and received his J.D. from Stanford
                     University. He is admitted to practice in California, and is resident in our Los
                     Angeles office.


                     Representations
                     Chapter 11 debtors in White Eagle Asset Portfolio; Fuse LLC; American
                     Suzuki Motor Corporation; Highway Technolgies; Peregrine Systems; Breed
                     Technologies; Solyndra; Covad Communications Group, Commonwealth
                     Equity Trust; Sizzler International; Toni Braxton; Mesa Air Group; MagnaChip
                     Semiconductor

                     Creditors' committees in Woodbridge Group of Companies; Circuit City; First
                     Executive Corporation; Northpoint Communications

                     Ad hoc bondholders' committee in Adelphia Communications

                     Lehman Brothers in Palmdale Hills Property

                     Trustees in Triad America Corporation and Ezri Namvar


                     Professional Affiliations
                     Fellow, American College of Bankruptcy




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 21-00141-WLH11   Doc 1008    Filed 08/18/21     Entered 08/18/21 14:31:43           Pg 30 of 46
                     Richard M. Pachulski (Cont.)



                     Member, Financial Lawyers Conference Board of Governors (1989-92)


                     Publications
                     Coauthor, "Chapter 11 - The Bank of Last Resort," 45 Business Lawyer 261
                     (1989)
                     Coauthor, "Plan Wars - The Use of Chapter 11 to Coax Continued Financing
                     From a Reluctant Lender," 738 PLI/Comm. 7 (1996)




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 21-00141-WLH11   Doc 1008   Filed 08/18/21    Entered 08/18/21 14:31:43         Pg 31 of 46
10100 Santa Monica Blvd.
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                                   Tel: 310.277.6910    |   ikharasch@pszjlaw.com



EDUCATION                          Mr. Kharasch has significant experience as lead counsel representing
University of Illinois (B.A.,
                                   debtors, creditors' committees, and other constituencies in chapter 11
cum laude, 1977)                   corporate reorganizations and out-of-court workouts, and has a proven track
                                   record of confirming both creditor and debtor chapter 11 plans of
University of California           reorganization. He has also been a longstanding member of the firm’s
School of Law, Los Angeles
                                   management committee.
(J.D. 1982)
Phi Beta Kappa                     Mr. Kharasch is a graduate of the University of Illinois and received his J.D.
                                   from UCLA. He holds an AV Preeminent Peer Rating, Martindale-Hubbell's
BAR AND COURT                      highest recognition for ethical standards and legal ability, and has been
ADMISSIONS                         named a “Super Lawyer” in the field of Bankruptcy and Creditor/Debtor
                                   Rights in a peer survey conducted by Law & Politics and the publisher of Los
1983, California
                                   Angeles Magazine. He was also listed in the 2018 and 2019 editions of Best
1983, Alaska                       Lawyers in America for Bankruptcy and Creditor Debtor Rights / Insolvency
2011, New York                     and Reorganization Law. Mr. Kharasch is admitted to practice in California,
                                   New York and Alaska and is resident in our Los Angeles office.
CLERKSHIPS
Judicial law clerk, Chief          Representations
Justice Edmond Burke
(Alaska)

                                   Forbes Energy Services: Represented Forbes Energy Services, an
                                   independent oilfield services contractor located in Texas with over $330
                                   million of debt. Prior to the chapter 11 filing in Houston, the firm negotiated
                                   a restructuring with the bondholders where all their debt was converted to
                                   new equity, as well as providing new employment and management
                                   incentive contracts for management. A prepackaged plan was confirmed.

                                   Pacific Energy Resources: Representing Pacific Energy Resources, an
                                   independent energy company that develops and produces oil and gas at its
                                   Alaska and California offshore drilling facilities. Pacific Energy had over $500
                                   million in debt and generated over $200 million in revenue at the time of its
                                   chapter 11 filing. Pacific Energy's common stock traded on the Toronto




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  21-00141-WLH11                Doc 1008    Filed 08/18/21     Entered 08/18/21 14:31:43          Pg 32 of 46
                     Ira D. Kharasch (Cont.)



                     Stock Exchange causing it to file a CCAA reorganization proceeding in
                     Vancouver to enforce certain US bankruptcy court orders. The company
                     successfully sold its operations and confirmed a plan, and Mr. Kharasch
                     continues to represent the company as a going concern.

                     Plainwell: Successfully managed the sale, resolved and restructured billions
                     in claims (including $3.2 billion of Superfund claims), and confirmed the
                     reorganization plan as principal bankruptcy counsel for this leading U.S.
                     paper producer.

                     Telogy: Successfully reorganized Telogy, Inc., a Silicon Valley-based, high-
                     tech distribution company that had approximately $100 million in revenue.

                     OwnIt Mortgage Solutions: Represented OwnIt Mortgage Solutions, a
                     Southern California-based subprime mortgage company, in its chapter 11
                     case. OwnIt originated approximately $8.3 billion in subprime mortgage
                     loans in 2005, filed for bankruptcy in late 2006 and successfully confirmed
                     its plan of reorganization.

                     Specialty Trust: Represented Specialty Trust, a Reno-based Real Estate
                     Investment Trust (REIT), in its chapter 11 case. Specialty Trust managed
                     $203 million in mostly short-term mortgage loans to residential developers
                     and confirmed its plan within 16 months.




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 21-00141-WLH11   Doc 1008   Filed 08/18/21     Entered 08/18/21 14:31:43          Pg 33 of 46
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New York, NY 10017-2024          Alan J. Kornfeld
                                 Tel: 310.277.6910    |   Tel: 212.561.7700     |   akornfeld@pszjlaw.com



EDUCATION                        Alan Kornfeld is a senior litigation partner with more than 30 years of
University of California at
                                 experience. He is an accomplished trial attorney whose practice focuses
Los Angeles (A.B. 1976)          primarily on complex commercial litigation matters. Among other things,
                                 Mr. Kornfeld has tried numerous adversary proceedings in bankruptcy and
University of California at      federal district courts, has tried a diverse set of bankruptcy matters,
Los Angeles (J.D. 1987)
                                 including contested confirmations, DIP financing and cash collateral
Phi Beta Kappa; Pi Gamma         motions, sale motions, rejection motions, incentive plan motions and claim
Mu                               objections in bankruptcy courts, and has argued related appeals on multiple
                                 occasions in the Ninth Circuit, Third Circuit and Second Circuit.
BAR AND COURT
ADMISSIONS                       Mr. Kornfeld’s areas of expertise include, among other things, in-depth
                                 claims investigations in major chapter 11 bankruptcies, the development of
1987, California
                                 litigation strategies in complex, multi-party and often multi-jurisdictional
2002, District of Columbia       disputes, and the successful prosecution of tort, contract and other claims
2004, New York                   through the entire pre-trial process, trial, and appeal. At the same time, Mr.
                                 Kornfeld also is a highly skilled negotiator, with a proven track record of
                                 structuring and successfully negotiating sophisticated and creative
                                 settlements in a wide variety of contexts.

                                 Mr. Kornfeld was selected for inclusion in the 2017-2020 editions of Best
                                 Lawyers in America for both Bankruptcy and Creditor Debtor Rights/
                                 Insolvency and Reorganization Law and Litigation - Bankruptcy. He is a
                                 graduate of UCLA where he received his A.B. in 1976 and his J.D. in 1987.
                                 Mr. Kornfeld is admitted to practice in New York, California and the District
                                 of Columbia.


                                 Representations
                                 Lead trial counsel for a major body armor manufacturer, the debtor in a
                                 chapter 11 case filed in 2010, whose chapter 11 plan ultimately was
                                 confirmed in 2015 after years of litigation, with payment in full to unsecured
                                 creditors in 2019. Handled a wide variety of litigation matters in bankruptcy
                                 court, federal district court and state court, including litigation with a class



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  21-00141-WLH11              Doc 1008    Filed 08/18/21     Entered 08/18/21 14:31:43           Pg 34 of 46
                     Alan J. Kornfeld (Cont.)



                     of securities fraud plaintiffs and litigation with the former officers of the
                     debtor, and successfully argued related appeals in the Second Circuit and
                     the Third Circuit. Negotiated complex settlements with the class action
                     plaintiffs and the U.S. Government, which resulted in the receipt of over $90
                     million in proceeds by the chapter 11 estate.

                     Lead trial counsel for the chapter 11 trustees of a California real estate
                     investor and his privately-owned company. Handled a variety of litigation
                     matters, including litigation against the investor and his family members.
                     Obtained an $8 million judgment against certain defendants after trial in
                     federal district court, successfully litigated against other defendants through
                     expert discovery and dispositive motions in federal district court and
                     negotiated a $15 million settlement on the eve of a jury trial, and obtained a
                     $274 million judgment against the real estate investor in a non-
                     dischargeability action.

                     Lead trial counsel for the creditors’ committee in the chapter 11 case of a
                     California-based media company. Conducted an in-depth investigation of
                     claims against former officers and other parties, obtained standing for the
                     committee to prosecute the claims, successfully negotiated settlements
                     totaling in excess of $8 million with certain defendants, and successfully
                     prosecuted the claims against the remaining defendants through extensive
                     discovery and multiple dispositive motions.

                     Lead litigation counsel for the creditors’ committee in a major retail
                     bankruptcy. Developed strategies for resolving plan-related disputes with
                     the private equity owner of the debtor and the debtor’s pre-petition lenders,
                     and conducted a full-scale investigation into potential claims against the PE
                     owner and lenders, resulting in plan concessions highly favorable to the
                     debtor’s unsecured creditors.

                     Lead trial counsel for the debtor and post-confirmation litigation trust in the
                     chapter 11 case of a premier automotive component manufacturer. Handled
                     various litigation matters against the former owners of the debtor, as well as
                     numerous adversary proceedings against the recipients of fraudulent
                     transfers from the debtor. Commenced arbitration proceedings on behalf of
                     a related entity, obtained a multi-million dollar award on cross-motions for
                     summary judgment, and successfully negotiated a settlement with the
                     defendant in excess of the amount of the arbitration award.

                     Lead trial counsel in Mortgage Lenders Network USA v. Wells Fargo Bank
                     (Bankr. D. Del. 2009). Obtained a trial verdict in excess of $2 million.

                     Lead trial counsel for the creditors' committees in DJK Residential (plan
                     confirmation), LandSource Communities Development (DIP financing), Neff
                     Corporation (plan confirmation), and Freedom Communications I (financing,
                     professional retention, plan disputes).




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 21-00141-WLH11   Doc 1008   Filed 08/18/21      Entered 08/18/21 14:31:43          Pg 35 of 46
10100 Santa Monica Blvd.
13th Floor                      Richard J. Gruber
Los Angeles, CA 90067-4003
                                Tel: 310.277.6910    |    rgruber@pszjlaw.com



EDUCATION                       Mr. Gruber is a transactional lawyer who specializes in representing clients
Brandeis University (B.A.,
                                in connection with real estate and general business matters (both in
magna cum laude, 1977).         bankruptcy and non-bankruptcy contexts). His expertise includes handling
                                asset purchases and sales and other personal-property transactions, the
University of California        organization and sale of businesses, and all aspects of real-estate purchase
School of Law, Los Angeles
                                and sale transactions, drafting and negotiating commercial leases, and real
(J.D. 1982).
                                estate and personal-property financing documentation. He also negotiates
BAR AND COURT
                                and prepares partnership and limited liability company formation
ADMISSIONS                      agreements, and provides general counseling in the corporate partnership
                                and limited liability company areas. He is a graduate of Brandeis University
1982, California.               and received his J.D. from UCLA. He holds an AV Preeminent Peer Rating,
                                Martindale-Hubbell's highest recognition for ethical standards and legal
                                ability. Mr. Gruber is admitted to practice in California and is resident in our
                                Los Angeles office.




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  21-00141-WLH11             Doc 1008    Filed 08/18/21      Entered 08/18/21 14:31:43          Pg 36 of 46
10100 Santa Monica Blvd.
13th Floor                         Jeffrey W. Dulberg
Los Angeles, CA 90067-4003
                                   Tel: 310.277.6910    |   jdulberg@pszjlaw.com



EDUCATION                          Mr. Dulberg has substantial experience representing debtors, creditors,
Swarthmore College (B.A.
                                   trustees, asset purchasers, and creditors’ committees in insolvency matters
1991)                              throughout the country. He has served as lead counsel for clients in a wide
                                   range of industries such as retail, technology, food services, new media, and
University of California, Los      real estate, among others. Mr. Dulberg has played a key role in several
Angeles (J.D. 1995)
                                   chapter 11 matters that have been awarded accolades such as “Chapter 11
Moot Court Honors Program          Reorganization of the Year” by the M&A Advisor, and “Turnaround of the
                                   Year” and “Transaction of the Year, Mid-Size Company” by the Turnaround
BAR AND COURT                      Management Association. In addition, Mr. Dulberg maintains an active
ADMISSIONS                         practice representing specialty lenders in a variety of settings.
1995, California
                                   He has handled numerous out-of-court and commercial matters, including a
                                   wide variety of sales and appeals before the Bankruptcy Appellate Panel of
                                   the Ninth Circuit. Mr. Dulberg lectures frequently on chapter 11 issues and
                                   he has spoken nationwide regarding these matters.

                                   Mr. Dulberg is a graduate of Swarthmore College (with honors) and received
                                   his J.D. from UCLA, where he was a teaching assistant with the political
                                   science department. On several occasions, most recently for 2021, Mr.
                                   Dulberg was named a "Super Lawyer" in the field of Bankruptcy & Creditor/
                                   Debtor Rights in a peer survey conducted by Law & Politics and the
                                   publishers of Los Angeles magazine, an honor bestowed on only 5% of
                                   Southern California attorneys. He has been listed in the Best Lawyers in
                                   America for Bankruptcy and Creditor Debtor Rights / Insolvency and
                                   Reorganization Law and Litigation - Bankruptcy every year since 2018. He is
                                   admitted to practice in California and is resident in our Los Angeles office.


                                   Representations
                                   Chapter 11 debtors: Yueting Jia; JRV Group USA; The Walking Company;
                                   Channel Technologies; Z Gallerie; Select Staffing; Ultura (LA) Inc.; Meridian
                                   Sports Clubs dba Bodies in Motion; Contessa Foods; The Parent Company;
                                   Barbeques Galore; People's Choice Home Loan; Cache Inc.; Prime



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  21-00141-WLH11                Doc 1008   Filed 08/18/21      Entered 08/18/21 14:31:43         Pg 37 of 46
                     Jeffrey W. Dulberg (Cont.)



                     Measurement Products; Olympia Group; RFB Cellular; Trend Technologies;
                     Track 'n Trail



                     Creditors' committees: Open Road Films; KSL Media; Freedom
                     Communications (II); Western Convenience Stores; Hot Dog on a Stick; No
                     Fear; B&B Bachrach, Inc. dba Bachrach Men’s Clothing, Select Snacks/Jay's
                     Foods; Pike Nursery; Sega GameWorks; Mercury Plastics; Custom Food
                     Products (trade committee);



                     Secured lenders in Nasty Gal; Meruelo Maddux Properties



                     Creditors/landlord representations: Genesis Capital; Second Generation;
                     Sylmark Group; Mid-Valley Properties


                     Professional Affiliations
                     Board of directors, Los Angeles Bankruptcy Forum

                     Member, Turnaround Management Association


                     Programs and Lectures
                     NACM/West Coast Apparel & Footwear Credit Association, American
                     Bankruptcy Institute, Turnaround Management Association, Valley Credit
                     Professionals, Credit Managers Association, Los Angeles Bankruptcy Forum,
                     Commercial Real Estate Women, International Women's Insolvency &
                     Restructuring Confederation (IWIRC), Crew Network




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 21-00141-WLH11   Doc 1008   Filed 08/18/21     Entered 08/18/21 14:31:43        Pg 38 of 46
150 California Street
15th Floor                       Maxim B. Litvak
San Francisco, CA
94111-4500                       Tel: 415.263.7000   |    mlitvak@pszjlaw.com



EDUCATION                        Mr. Litvak specializes in bankruptcy and restructuring matters. He has
University of California (B.A.
                                 represented debtors, trustees, creditors, and creditors' committees in
1994)                            numerous bankruptcy cases and out-of-court restructurings. He has
                                 authored a number of papers on insolvency issues and has lectured at
Duke University School of        various seminars and bar association meetings. Mr. Litvak is a graduate of
Law (J.D. 1997)
                                 UC Berkeley and received his J.D. from Duke University. Every year since
                                 2014, he has been named a "Northern California Super Lawyer" in a peer
BAR AND COURT
ADMISSIONS
                                 survey conducted by Law & Politics and the publishers of San Francisco
                                 magazine, an honor bestowed on only 5% of Northern California attorneys,
1997, Texas                      and has been listed in Best Lawyers in America for his work in Bankruptcy
2001, California                 and Creditor Debtor Rights / Insolvency and Reorganization Law since 2016.
                                 He is admitted to practice in Texas and California, and speaks fluent Russian.
                                 Mr. Litvak is resident in our San Francisco office.


                                 Representations
                                 Chapter 11 debtors including Highland Capital (Delaware), Fuse Media
                                 (Delaware), White Eagle ( Delaware), Forbes Energy (Texas), True Religion
                                 Apparel (Delaware), A.M. Castle (Delaware), Forbes Energy Services
                                 (Houston), Channel Technologies (Santa Barbara), Variant Holding Company
                                 (Delaware), Digital Domain Media (Delaware); Solyndra LLC (Delaware),
                                 Pacific Energy (Delaware), Woodside Homes (Riverside), Nellson
                                 Nutraceutical (Delaware), Proxim Corporation (Delaware), Sydran Services
                                 (Oakland), Deltagen (San Francisco), General Magic (San Jose), and Quokka
                                 Sports (San Francisco)

                                 Creditors' committees including Boy Scouts of America (Delaware), Barneys
                                 New York (New York), Payless Holdings (2019) (Missouri), Weinstein
                                 Company (Delaware), Bon-Ton Stores (Delaware), Marbles Brain Store
                                 (Chicago), Carinalli (Santa Rosa), Humboldt Creamery (Santa Rosa), Pacific
                                 Lumber (Corpus Christi), SeraCare (San Diego), At Home Corporation (San
                                 Francisco), and Software Logistics (Oakland)




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  21-00141-WLH11             Doc 1008    Filed 08/18/21      Entered 08/18/21 14:31:43         Pg 39 of 46
                     Maxim B. Litvak (Cont.)



                     Professional Affiliations
                     Member, Bench-Bar Liaison Committee of the Bankruptcy Court for the
                     Northern District of California (2010-13)

                     Turnaround Management Association, Northern California Chapter
                     (Membership Committee, 2007-08; Secretary, 2004-07)


                     Programs and Lectures
                     Bar Association of San Francisco, American Bar Association, Turnaround
                     Management Association


                     Publications
                     Coauthor with D. Grassgreen: First Day Motions: A Guide to the Critical First
                     Days of a Bankruptcy Case (ABI 2d ed. 2006)
                     Author, "What Does an Insider Have to Do to Make a Buck? A Commentary
                     on the Recent Revisions to Section 503 of the Bankruptcy Code Limiting the
                     Approval of Retention, Severance and Other Bonus Compensation to
                     Insiders," in Bankruptcy Reform 2005 at 63 (LRP Publications 2005)
                     Author, "Retention and Compensation of Investment Bankers in Bankruptcy
                     Cases," 23 American Bankruptcy Institute Journal 30 (April 2004)
                     Contributing editor, Norton Bankruptcy Law & Practice (2006 - 2010)




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 21-00141-WLH11   Doc 1008   Filed 08/18/21     Entered 08/18/21 14:31:43         Pg 40 of 46
780 Third Avenue
34th Floor                     Paul J. Labov
New York, NY 10017-2024
                               Tel: 212.561.7700    |   plabov@pszjlaw.com



EDUCATION                      Mr. Labov specializes in representing clients in a wide range of industries in
George Washington
                               chapter 11 and work-outs, include creditors' committees, ad hoc creditor
University (B.A. 1999)         groups, institutional and nontraditional lenders, large unsecured creditors,
                               trustees, and liquidation trusts. He also represents and advises private
Seton Hall University School   equity firms in the purchases and sales of distressed debt and assets.
of Law (J.D. 2002)
                               Mr. Labov has been recognized for his work in bankruptcy and financial
BAR AND COURT                  restructuring by New York Super Lawyers, and was recognized by New York
ADMISSIONS                     Super Lawyers Rising Stars from 2013-2017.
New Jersey, 2002
                               Mr. Labov is a graduate of George Washington University, and earned his
New York, 2003                 J.D. from Seton Hall University School of Law. He is admitted to practice in
                               New York and New Jersey, and is resident in our New York office.


                               Representations
                               Creditors' committees: AMSCO Steel Company, Bailey Tool Manufacturing,
                               Beaulieu Group, Choxi.com, Family Christian Stores, Garces Restaurant
                               Group, United Support Solutions, Uplift RX

                               Ad hoc trade vendor committee in Toys R Us

                               Administrative claim representative in Sears


                               Professional Affiliations
                               Bankruptcy Inns of Court (former student)




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  21-00141-WLH11           Doc 1008    Filed 08/18/21      Entered 08/18/21 14:31:43           Pg 41 of 46
                                 Jason Rosell
                                 Tel: 415.263.7000   |   jrosell@pszjlaw.com



                                 Jason Rosell represents debtors and creditors in complex chapter 11 cases.
                                 Mr. Rosell is also a recognized thought leader on the intersection of
                                 cannabis and insolvency and regularly represents ad hoc groups in
                                 connection with cannabis-related restructurings.
150 California Street
15th Floor
                                 Mr. Rosell received his B.S. in Computer Information Systems and M.B.A at
San Francisco, CA
                                 Arizona State University's W.P. Carey School of Business; he received his
94111-4500                       J.D. at Sandra Day O’Connor College of Law, also part of Arizona State
                                 University. He served as a legal extern for the Honorable Redfield T. Baum,
                                 Bankruptcy Court for the District of Arizona, and is admitted to practice in
                                 California and New York. Mr. Rosell has been named a "Rising Star" in Super
EDUCATION                        Lawyers every year since 2014. Mr. Rosell is resident in our San Francisco
W.P. Carey School of             office.
Business, Arizona State
University (B.S., summa cum
laude, 2003)                     Representations
W.P. Carey School of             Chapter 11 debtors: MobiTV, Easterday Ranches, iPic, Tintri, BarFly,
Business, Arizona State          Brinkmann Corporation, NewZoom, Hipcricket, Digital Domain Media, Mesa
University (M.B.A. 2005)         Air Group, Solyndra
Sandra Day O’Connor
College of Law, Arizona State    Creditors' committees: Weinstein Company, Munchery, Art Van Furniture,
University (J.D., magna cum      Cobalt International Energy, Rdio, SFX Entertainment, Haggen Holdings,
laude, 2009)                     Residential Capital, AMF Bowling Worldwide

BAR AND COURT
                                 Ad hoc committees (public): Loudpack (cannabis), Energy Future Holdings
ADMISSIONS
California, 2010                 Professional Affiliations
New York, 2011                   President, Turnaround Management Association - Northern California
                                 Chapter
CLERKSHIPS
Legal extern, Judge Redfield
T. Baum (Bankr. D. Ariz. 2009)   Publications
                                 Will U.S. Cannabis Companies Find Grass Is Greener in Canada for
                                 Restructuring?
                                 Journal of Corporate Renewal, January 2019




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  21-00141-WLH11            Doc 1008     Filed 08/18/21     Entered 08/18/21 14:31:43         Pg 42 of 46
780 Third Avenue
34th Floor                    Karen B. Dine
New York, NY 10017-2024
                              Tel: 212.561.7700   |    kdine@pszjlaw.com



EDUCATION                     For over twenty-five years, Ms. Dine has specialized in all aspects of
Barnard College, Columbia
                              bankruptcy and restructuring, representing debtors in possession, equity
University (B.A. summa cum    holders, creditors' and equity committees, institutional lenders, secured
laude)                        lenders, indenture trustees, investment and private equity funds, distressed
                              debt investors, trade creditors, real property and equipment lessors, all in
Harvard Law School (J.D.
                              diverse industries, including real estate, oil and gas, retail, manufacturing,
cum laude)
                              gaming and hospitality, aviation, life sciences, food and beverage, chemicals
BAR AND COURT
                              and mortgage lending. She has worked on numerous cases, including
ADMISSIONS                    Caesars Entertainment, Nortel Networks, Sizmek, J & M Sales, Houlihans,
                              and Frontier Communications.
1994, New York
                              Ms. Dine is a graduate of Barnard College summa cum laude and earned her
                              J.D. cum laude from Harvard Law School. She has been recognized as a
                              New York Super Lawyer in 2006 - 2010, 2012 - 2020. Ms. Dine is resident in
                              our New York office.




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  21-00141-WLH11           Doc 1008   Filed 08/18/21      Entered 08/18/21 14:31:43         Pg 43 of 46
10100 Santa Monica Blvd.
13th Floor                       Victoria A. Newmark
Los Angeles, CA 90067-4003
                                 Tel: 310.277.6910    |   vnewmark@pszjlaw.com



EDUCATION                        Ms. Newmark has extensive experience as a bankruptcy lawyer, including
University of California at
                                 representation of debtors, creditors, and equity holders in chapter 11
Berkeley (B.A. 1991, with        reorganization cases. She has also represented buyers and sellers in
honors)                          acquisitions and sales of distressed assets, and borrowers and lenders in
                                 loan originations and out-of-court work-outs.
Yale Law School (J.D. 1995)
                                 Ms. Newmark is a graduate of UC Berkeley and received her J.D. from Yale
BAR AND COURT                    Law School, where she was an editor of the Yale Law Journal and managing
ADMISSIONS                       editor of the Yale Journal of International Law. She co-authored an article on
1996, California                 trade vendor rights legislation under the Bankruptcy Abuse Prevention and
                                 Consumer Protection Act of 2005. She previously taught legal writing as an
                                 adjunct instructor at Cal State, Los Angeles.

                                 She has also been recognized annually ever year from 2004 to 2010 as a
                                 Southern California Rising Star in the Law & Politics Media Inc. survey
                                 published in Los Angeles Magazine and the Southern California edition of
                                 Super Lawyers. Ms. Newmark is admitted to practice in California and is
                                 resident in our Los Angeles office.


                                 Representations
                                 Represented a subprime mortgage loan originator and servicer, the nation's
                                 second largest at the time of its chapter 11 filing, as debtor's counsel

                                 Represented the purchaser of a midsize nutritional supplements
                                 distributorship in contested bankruptcy auction proceedings

                                 Represented a publicly held ISP and global online media content company
                                 and its affiliates as debtors' counsel in their chapter 11 cases

                                 Represented the seed investor and acquirer of a California specialty retail
                                 business pursuant to section 363 of the Bankruptcy Code




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  21-00141-WLH11              Doc 1008   Filed 08/18/21      Entered 08/18/21 14:31:43         Pg 44 of 46
                     Victoria A. Newmark (Cont.)



                     Publications
                     First Day Motions (3d ed.)
                     A Guide to the Critical First Days of a Bankruptcy Case
                     American Bankruptcy Institute, June 2012
                     Coauthor, "Tradeoffs," The Deal (May 23, 2005)




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 21-00141-WLH11   Doc 1008   Filed 08/18/21     Entered 08/18/21 14:31:43          Pg 45 of 46
440 Louisiana Street
Suite 900                       Benjamin L. Wallen
Houston, TX 77002
                                Tel: 713.691.9385   |   bwallen@pszjlaw.com



EDUCATION                       Ben Wallen graduated from the University of Oklahoma in 2013 and from
University of Oklahoma (B.A.
                                the University of Houston Law Center in 2016. While in law school, he was a
2013)                           judicial intern for the Honorable David R. Jones, U.S. Bankruptcy Court for
                                the Southern District of Texas, and for the Honorable Harold R. DeMoss Jr.,
University of Houston Law       U.S. Court of Appeals for the Fifth Circuit. Ben also worked for the Mexican
Center (J.D. 2016)
                                government as a legal intern for la Comisión Nacional de Hidrocarburos. In
                                addition, Ben was a research assistant to Professor Jim Hawkins and served
BAR AND COURT
ADMISSIONS
                                as the chief articles editor for the Houston Business and Tax Law Journal,
                                where he currently serves on the board of trustees. Shortly before
2016, Texas                     graduating law school, Ben was awarded the American Bankruptcy Institute
                                Medal of Excellence.
CLERKSHIPS
Judicial intern, Judge Harold
R. DeMoss Jr. (5th Cir.)
Judicial intern, Judge David
R. Jones (Bankr. S.D. Texas)




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  21-00141-WLH11            Doc 1008    Filed 08/18/21     Entered 08/18/21 14:31:43         Pg 46 of 46
